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                                                        :
        Linda Guzzo,                                    :               SUPERIOR COURT
                                                        :               OF CONNECTICUT
                                                        :
                Plaintiff                               :               HARTFORD JUDICIAL
                                                        :               DISTRICT at HARTFORD
                                                        :
                        v.                              :
                                                        :
        Connecticut State Colleges                      :
        and Universities                                :
                                                        :
                Defendant                               :
                                                        :

                                               COMPLAINT

        1.      The plaintiff, Linda Guzzo, initiated an action on February 26, 2021, in the

United States District Court for the District of Connecticut as Linda Guzzo v. Connecticut

State Colleges and Universities, State of Connecticut, Case No. 3:21-cv-254 (CSH) setting

out claims against her employer, Connecticut State Colleges and Universities (CSCU), an

agency of the State of Connecticut.1 The defendant moved to dismiss the plaintiff’s claims

stated therein under the federal Age Discrimination in Employment Act (ADEA), 29 U.S.C.

§621, et seq., and the Connecticut Fair Employment Practices Act (CFEPA), Conn.Gen.Stat.

§46a-60, et seq. on the basis that these claims were barred by the doctrine of sovereign

immunity.2 On June 28, 2021, Judge Charles S. Haight, Jr. granted the plaintiff’s motion to

amend the Complaint by, inter alia, “removing the ADEA and CFEPA claims.”3 Subsequently,

on March 28, 2022, Judge Haight granted defendant’s motion to dismiss the plaintiff’s claims

stated in that action under the Family and Medical Leave Act, 29 U.S.C. §2615(a)(2) and
1   Linda Guzzo v. Connecticut State Colleges and Universities, State of Connecticut, Case No. 3:21-cv-254,
    Document #1 (hereinafter referenced as “Doc. #__).
2   Doc. #13.
3   Doc. #20.
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§2615(b), ruling in favor of the defendant’s argument “that the Eleventh Amendment grants

CSCU immunity to suit under the FMLA self-care provision.” 4

        2.      Now, consistent with Connecticut’s “accidental failure of suit” statute,

Conn.Gen.Stat. §52-592, the plaintiff seeks to bring in this Court claims that were withdrawn

and/or dismissed for lack of jurisdiction. Specifically, the plaintiff alleges in Counts One and

Two that the defendant discriminated against her because of her age and retaliated against

her for her exercise of rights in violation of the Connecticut Fair Employment Practices Act

and alleges in Count Three that the defendant discriminated and/or retaliated against her

because she exercised rights under the Family and Medical Leave Act, 29 U.S.C. §2615(a)(2)

and §2615(b).

        3.      The plaintiff further alleges in Counts Four and Five that the defendant denied

her request for a reasonable accommodation for her disabilities and discriminated against her

in her employment because of her disabilities in violation of the Rehabilitation Act of 1973, as

amended, 29 U.S.C. § 701 et seq., as amended by the Americans with Disabilities Act

Amendments Act of 2008, 42 U.S.C. §12101 et seq. (“ADAAA”).

        4.      The plaintiff, Linda Guzzo, is a person residing at 26 Paxton Road, West

Hartford Connecticut.

        5.      The plaintiff is a woman; her date of birth is December 2, 1958.

        6.      The plaintiff suffers from an anxiety disorder that substantially limits her ability to

concentrate, sleep, and work as compared to most people in the general population.




4   Doc. #32.

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       7.      The plaintiff suffers from a chronic digestive disorder that substantially limits the

plaintiff in the functioning of her digestive system as compared to most people in the general

population.

       8.      The plaintiff suffers from situation hypertension that substantially limits her ability

to concentrate, sleep, and work as compared to most people in the general population.

       9.      The plaintiff suffers from a chronic impairment due to an injury to her right foot

that substantially limits her ability to walk and climb stairs as compared to most people in the

general population.

       10.     The plaintiff suffers from vitiligo, a disfiguring condition.

       11.     Plaintiff has and has had a “regarded as disability” as defined in the

ADAAA at 42 U.S.C. §§12102(1) and (3) and incorporated into the Rehabilitation

Act, in that she has an actual or perceived emotional impairment and an actual or perceived

physical impairment.

       12.      Plaintiff is and at all relevant times has been an “individual with a disability”

within the meaning of the Rehabilitation Act of 1973, as amended, 29 U.S.C. §§ 705(9) (B)

and (20)(B), which incorporates by reference the standards of the Americans with Disabilities

Act, as amended in 2008 (“ADAAA”). The disabilities described in paragraphs 6 through 10,

above, constitute “serious medical conditions” for purposes of the Family and Medical Leave

Act, 29 U.S.C. §2601, et seq.

       13.     Defendant Connecticut State Colleges and Universities (CSCU) is an agency of

the State of Connecticut, with a principal place of business at 61 Woodland Street, Hartford,

Connecticut. CSCU is a program or activity receiving Federal financial assistance within the

meaning of the Rehabilitation Act of 1973, as amended, 29 U.S.C. § 701 et seq., as amended

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by the Americans with Disabilities Act Amendments Act of 2008, 42 U.S.C. §12101 et seq.

(“ADAAA”), and is therefore an employer subject to the Rehabilitation Act.

       14.     The defendant is, at all times relevant to this Complaint, an employer subject to

the requirements of the Connecticut Fair Employment Practices Act; and the federal Family

and Medical Leave Act.

       15.     The plaintiff was employed by the defendant from in or about 1984 to the date of

her involuntary retirement, April 1, 2022.

       16.     Over the course of the plaintiff’s employment by the defendant, she held the

positions of Director of Continuing Education Business Programs; Coordinator, Business &

Industry Services; Director of Business & Industry Services; Interim Associate Dean of

Continuing Education; Associate Dean of Continuing Education; and Dean of Workforce

Development & Continuing Education.

       17.     Throughout the plaintiff’s employment by the defendant, she consistently

performed the duties of her position at or above the reasonable expectations of her

supervisors, including for a time performing the duties of two long term vacant director

positions in addition to her position as Dean, with no additional compensation.

       18.     Beginning in or about 2018, the plaintiff reported to Duncan Harris, Interim

Campus Chief Executive Officer for Capital Community College and subsequently Campus

Chief Executive Officer for Capital Community College, as part of his “Cabinet” of direct

reports.

       19.     The plaintiff was the oldest of the five management employees who were

Harris’s direct reports comprising the Cabinet.



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       20.     From the time that the plaintiff began reporting to Harris, he and/or Josephine

Agnello-Veley, defendant’s Director of Human Resources for Capital Community College (and

also a member of Harris’s “Cabinet”) made repeated inquiries to the plaintiff about her

retirement plans.

       21.     In response to these inquiries, the plaintiff repeatedly stated to Harris and to

Agnello-Veley that she had no plans to retire, but was looking for promotional opportunities.

       22.     Defendant has a history of placing individuals into “interim” positions in order to

delay conducting searches. The delay provides temporary promotional opportunities,

increased compensation, and advantages to incumbents when searches are conducted to

permanently fill positions.

       23.     In or about May and June 2018, the plaintiff was passed over for appointment to

the position of Interim Academic Dean of Capital Community College.

       24.     Harris told the plaintiff that if she applied for the position, she would not be

considered because she was “near retirement.”

       25.     Younger, less-qualified employees were appointed to those positions.

       26.     Harris was aware of the plaintiff’s physical disability, as described in paragraph

9, above. Beginning in or about May 2019, on several occasions where Harris and his

“Cabinet” attended off-campus events, plaintiff’s physical disability was not considered.

Plaintiff had to draw attention to herself by using an elevator rather than stairs, had difficulty

walking the long distances to the locations, and using high rise collaborative seating as

required by Harris as part of “team building”.




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       27.     On a number of occasions another Cabinet member commented on plaintiff’s

“white sneakers,” an age-based stereotype. Harris ratified and did not challenge his

subordinate’s ageist comments.

       28.     At monthly Cabinet meetings, Harris and/or Agnello-Veley circulated lists of

employees who they considered to be at or near retirement age.

       29.     Harris frequently referred to or introduced plaintiff as his oldest manager.

       30.     In or about May and June 2019, plaintiff was passed over for the permanent

appointment to Academic and Student Services Dean for Capital Community College. Harris

told the plaintiff that if she applied for the position, she would not be considered because she

was “near retirement.”

       31.     In or about July 2019, during a meeting of Duncan Harris with his immediate

reports, he praised the younger members of the Cabinet with predictions for their future, such

as “Miah you will become a president. Jason you will earn your doctorate. Josephine you will

teach.”

       32.     Harris’ comment about the plaintiff was that she would be walking out with a

walker, and he proceeded to physically mimic the plaintiff walking out the door with a walker.

       33.     Harris’ comment and mimicing of the plaintiff were intentional mocking of the

plaintiff’s age and/or physical disability.

       34.     In or about August 2019, prior to the opening of the defendant’s Leadership,

Excellence, Achievement and Development (LEAD) Center, a project that plaintiff designed

and initiated, Harris told plaintiff that she would not be speaking at the opening and that he

would orchestrate photographs of the opening to exclude plaintiff because he wanted the

LEAD Center to present a “young” image.

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       35.     In or about September 2019, with respect to an incident involving a threat of

workplace violence against the plaintiff by another employee, the defendant failed to follow its

own procedures, including by failing to keep plaintiff informed about steps it should have

taken to ensure her safety.

       36.     The defendant’s handling of the threat of violence directed toward the plaintiff

was intended to pressure her to quit or retire.

       37.     Text from Duncan Harris regarding a photo with external business partners in

August 2019 did not portray the plaintiff positively due her age.

       38.     Beginning in or about September 2019, while plaintiff was on an approved

FMLA leave of absence, in a meeting with plaintiff’s staff, Harris announced his intention to

intercept all of plaintiff’s email, mail, and calls. Harris accessed the plaintiff’s medical

certificates and FMLA documents and communications.

       39.     Beginning in or about September 2019, while plaintiff was on an approved

FMLA leave of absence, Harris moved plaintiff’s office to a less secure location that was more

remote from her colleagues and cut off plaintiff’s communications with the Cabinet, campus

staff and faculty, plaintiff’s own staff, and external partners.

       40.     Beginning in or about September 2019, while plaintiff was on an approved

FMLA leave of absence, Harris falsely informed external partners that they were not to

communicate with plaintiff because she was retiring and/or otherwise not returning to work.

       41.     Harris also removed plaintiff from the Cabinet group texts which was the

standard form of communication among his management team.

       42.     Due to Harris’s actions, while on FMLA the plaintiff received no communications

from the Cabinet even for informational purposes.

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       43.     Harris’ actions toward the plaintiff when she went on FMLA leave were intended

to pressure the plaintiff to quit or retire.

       44.     When the plaintiff returned to work, she discovered that her office had been

relocated and all of her files and personal belongings had been removed. Both Human

Resources and Campus Security stated they were unaware of whether or where the plaintiff

had been assigned to work. Harris also removed the plaintiff’s reserved parking space, so

that the plaintiff was forced to park in less secure locations and at longer distances,

exacerbating plaintiff’s disabilities. Harris refused plaintiff’s requests for the return of her

reserved parking space.

       45.     Ultimately, plaintiff was assigned to an office she had previously occupied. The

office was not ready for occupancy such that furniture had to be rearranged in order for the

space to be usable, there was no working computer in the office, no heat and no security

measures for the main door of the office, which was not visible by the plaintiff from her

workspace.

       46.     Harris told plaintiff that some of her missing files might be located in an unused

work area known as “the kitchen,” and instructed her to clean out the work area. Harris also

instructed the plaintiff to clean out the office of another employee who retired while the plaintiff

was on FMLA. These were not a normal part of the plaintiff’s duties. Harris’ instructions to the

plaintiff were intended to encourage her to quit or retire.

       47.      Most of plaintiff’s files and all of her personal belongings that had been

removed from her office while she was on FMLA leave were never located or returned.




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       48.     In 2020, Connecticut State Colleges & Universities accepted applications for

three vacant positions for Chief Workforce Development Officer, including a position for the

Capital-East Region, which includes Capital Community College.

       49.     Harris and Agnello-Veley interfered with the normal chain of communications

that would have alerted plaintiff to the vacant positions, in order to prevent her from applying.

       50.     Nonetheless, plaintiff learned of the vacant positions and applied.

       51.     Although was the most experienced and qualified for the position, she was not

selected for any of the vacant positions.

       52.     Plaintiff was the only Dean of Workforce Development and Continuing

Education not selected for one of the executive level vacant positions.

       53.     Diane Bordonaro, who held the position of Director of Continuing Education (a

subordinate position with no experience in the role of Dean) was selected for the other vacant

position as Chief Workforce Development Officer.

       54.     Harris was a required reference for the Chief Workforce Development Officer

position. None of plaintiff’s other references were contacted, which included former presidents

and executives.

       55.     As a result of Bordonaro’s promotion, she became the plaintiff’s “direct line”

manager while Harris remained as her “dotted line” manager.

       56.     Plaintiff also applied for the position of Associate Vice President of Student

Success Management. Although qualified, she was not selected for the position.

       57.     Beginning in or about August 2020, Bordonaro and Harris took actions to

remove responsibilities from plaintiff’s position, diminish her position, and humiliate her. These

actions were intended to pressure the plaintiff to quit or retire.

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        58.      Bordonaro and Harris transferred responsibility for the Financial Literacy

(FIRST) Center, Career Services, and Extension Fund Programs – initiatives that plaintiff had

created and successfully led – to other younger, less-qualified employees.

        59.      Harris modified contracts for plaintiff’ staff without consulting her and excluded

her from communications with her staff; he has also permitted other staff to give directives to

plaintiff’s staff.

        60.      Bordonaro and Harris ignored plaintiff’s requests to serve on committees and

projects and participate in professional development opportunities.

        61.     Bordonaro and Harris refused to provide plaintiff with requested documents that

had been provided to other employees.

        62.      Harris actively discouraged other employees and external partners from

communicating with plaintiff or seeking her assistance.

        63.      Harris informed plaintiff that other existing areas of responsibility in her position

are or will be transferred to other employees.

        64.      Harris removed plaintiff’s responsibility for managing recently awarded grants

and assigned them to other staff members.

        65.      Bordonaro, as Chief Workforce Development Officer for Capital-East Region,

scheduled the first meeting to discuss the regional plan for the operation of workforce

development and continuing education – a meeting for which plaintiff would ordinarily have

been expected to be present – for a date two days before the end of plaintiff’s vacation. The

selection of the date was made by Bordonaro and not based on the polling of attendees.




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        66.       Bordonaro refused plaintiff’s request to reschedule the meeting, even though it

meant not only that plaintiff would not be present, but that she would not be able to prepare

her own staff for the meeting.

        67.       Bordonaro also refused plaintiff’s request to record the meeting and provide

notes so that she could be aware of what transpired, even though she could not be present.

        68.       Bordonaro scheduled multiple meetings with the plaintiff’s staff without informing

and updating the plaintiff.

       69.        Bordonaro took actions to remove responsibilities from plaintiff’s position,

diminish her position, and took actions intended to humiliate plaintiff, including assigning

projects directly to plaintiff’s staff, giving her staff directions, excluding plaintiff from meetings,

asking in meetings if plaintiff knew how to perform tasks that she had been doing for more

than thirty years, and informing external partners not to communicate with plaintiff.

        70.       Bordonaro and Harris refused to adjust plaintiff’s vacation time so she could

respond to time sensitive and highly visible programs, that resulted in her working multiple

days while on vacation.

        71.       These actions by Bordonaro and Harris were intended to pressure the plaintiff to

quit or retire.

        72.       On or about February 7, 2020, the defendant became aware that the plaintiff

had commenced an administrative claim at the Connecticut Commission on Human Rights

against the defendant, alleging that it had discriminated against her on the basis of her age.

        73.       Harris has made several references to the fact that the plaintiff does not engage

in social media such as Facebook as an “age thing.” Harris repeatedly asked plaintiff if she



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knew that documents can be read on the computer and did not need to be printed which

Harris referred to as “old school”.

          74.      Defendant has repeatedly ignored plaintiff’s safety concerns and has not

followed required safety agreements due to the plaintiff’s age discrimination complaint.

          75.      In or about October 2020, defendant rescinded plaintiff’s annual salary increase.

          76.      In or about August 2021, and although Harris was well aware of the plaintiff’s

ongoing medical issues, he informed the plaintiff that the defendants intended to open a

Covid-19 testing site adjacent to her office.

          77.      The plaintiff complained to Harris that there were numerous other locations in

the college where the testing center could have been placed, and that by locating it in the

vicinity of her office, she was being exposed to serious and possibly deadly conditions.

          78.      Harris did not respond to the plaintiff’s complaint or take any action to re-locate

the testing center, except on one occasion sarcastically advising the plaintiff to “mask up.”

          79.      Beginning at that time and continuing until her involuntary retirement in 2022,

the plaintiff made repeated complaints to the defendants regarding the placement and

operation of the Covid-19 testing center and the potential hazard that its presence posed to

her.

          80.      Despite the plaintiff’s best efforts and the obvious risks to her health and well-

being, the plaintiff was unable to convince the defendant to relocate the Covid-19 testing

center.

          81.      Defendant’s failure and/or refusal to relocate the Covid-19 testing center put the

plaintiff at considerable and completely unnecessary risk to her health and caused her severe

emotional distress. Students and staff who came to the floor seeking Covid-19 testing

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frequently came to or into the plaintiff’s office either believing her office was the testing site or

asking for directions. Staff from the Covid-19 testing center inappropriately disposed of

medical waste and failed to follow protocols that would have made the area more safe. Public

safety staff who were alerted to the inappropriate disposal failed to take action and/or made

false statements to avoid taking action.

       82.      Around this time the plaintiff also expressed concern about the possibility of

being required to return to work full time on the campus. The plaintiff communicated to Human

Resources that her doctor had requested that as a reasonable accommodation for her

disabilities, she should be allowed to work from home most of the week.

       83.      Instead of addressing the plaintiff’s request for a reasonable accommodation,

Human Resources informed the plaintiff that it would be “better” if she requested to be

allowed to work from home under the defendant CSCU’s teleconference policy.

       84.      When the plaintiff then made the request to be allowed to work from home

under the teleconference policy, defendant Bordonaro immediately informed her that she

would need to “justify” her need to work from home. This was distressing to the plaintiff

because she had requested a reasonable accommodation so that she would not have to

disclose information about her medical condition to Bordonaro.

       85.      Although the plaintiff continued to express her concern to Human Resources

that she should be considered for a reasonable accommodation to her disability and that she

was disturbed by Bordonaro’s efforts to obtain information about the plaintiff’s medical

condition, they continued to tell her that she should request to work from home under the

teleconference policy.



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       86.      In January 2022, the plaintiff complained in an email to Bordonaro and Harris

about her exclusion from a meeting with Hartford Adult Education and Capital Workforce

Partners, long-time working partners with the plaintiff. The plaintiff copied the email to Diane

Mazza, defendant’s Human Resources Shared Services Director of HR Strategy and

subsequently requested a meeting with Mazza to re-state her complaint about being excluded

from meetings and having responsibilities taken away.

       87.      Finally, in February 2022, the plaintiff participated in a teleconference with

Nicholas D’Agostino, Director of Equal Employment Opportunity for the defendant CSCU. In

that meeting the plaintiff complained, inter alia, about the proximity of the Covid-19 testing

center. In doing so, the plaintiff explicitly stated and emphasized to D’Agostino that there were

numerous other potentially suitable locations for the Covid-19 testing center. The plaintiff also

explicitly stated and emphasized to D’Agostino that she had previously had the experience of

having her office suddenly and inexplicably relocated while she was on Family and Medical

Leave, that this had been extremely distressing to her, and that she wanted to participate in

any decision-making that might be made around the issue of the re-location. D’Agostino

acknowledged the plaintiff’s concerns.

       88.      In the meeting, the plaintiff also complained about several compensation issues,

including regarding recovery of vacation days on which she had had to work, hours/days not

applied to accrued time, and compensation due for performing the duties of two long term

vacant director positions, and pointed out that in spite of numerous requests and complaints

no action had been taken on those issues.

       89.      A few days after the meeting with D’Agostino, the plaintiff received an email

indicating that, contrary to her express repeated and clear requests, D’Agostino had made the

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unilateral decision to relocate her office – rather than the testing center – and to do so without

consulting her. D’Agostino’s re-location of the plaintiff’s office would have put her on a

separate floor from her staff and would have made the performance of her duties more

difficult and inconvenient and cause further humiliation.

       90.      D’Agostino’s decision to proceed in this fashion without regard to the explicit

and emphatic requests from the plaintiff caused her to suffer extreme emotional distress that

worsened her medical conditions and to experience physical injury.

       91.      Upon information and belief, while D’Agostino promptly took action that the

plaintiff had specifically requested not be taken, he took no action on the compensation

issues she had raised and was told by Diane Mazza to re-document the issues she had

previously submitted multiple times to HR or her concerns about needing a reasonable

accommodation in order to work from home.

       92.      On or about February 24, 2022, feeling that she had exhausted any possibility of

being able to perform the duties of her job without having to cope with defendant CSCU’s

callous disregard for her rights and the endangering of her physical and emotional health, the

plaintiff stated to D’Agostino in an email her intent to retire.

       93.      Plaintiff received no further communications from D’Agostino or her supervisors

Harris and Bordonaro regarding her office. The plaintiff arrived to work on February 28, 2022

to find her business equipment, files and personal belongings again removed from her original

office without her knowledge and agreement. The plaintiff reported the incident to Public

Safety in the absence of a human resources campus representative. The incident caused

extreme emotional distress that worsened her medical conditions. Missing items, including

missing personal items, were not returned.

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       94.      The plaintiff’s retirement was compelled by the plaintiff’s deteriorating physical

and mental health, which in turn was caused by defendants’ repeated efforts to displace her

from her job, remove her duties, ignore her requests that she not be exposed to students and

staff coming into the vicinity of her office to be tested for Covid-19, ignore her requests to be

provided reasonable accommodations, ignore her requests that decisions being made about

the location of her office be made in consultation with her, and ignore her requests that action

be taken with respect to her compensation.

       95.      As a result of the plaintiff’s compelled retirement in advance of her planned date

of retirement, she has suffered a loss of the wage and benefits of her employment, including

but not limited to adverse impacts on her pension benefits.

       96.      As a result of the defendants’ discriminatory and retaliatory treatment of the

plaintiff, the plaintiff suffered and continues to suffer extreme emotional distress, which has

significantly worsened her medical conditions.

Count One: Age Discrimination in Employment (CFEPA)

       1.       The plaintiff restates, re-alleges, and incorporates by reference paragraphs 1

through 96, above.

       97.      Due to animus based on the plaintiff’s age, the defendant treated the plaintiff

less favorably than other, younger employees, including by denying her promotional

opportunities, mocking her in the presence of co-workers, removing responsibilities from her

position, diminishing her position, taking actions intended to humiliate the plaintiff,

discouraging co-workers and external partners from communicating with her, falsely leading

others to believe that the plaintiff had retired, and placing the plaintiff in positions that



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endangered her health, in violation of the age discrimination provision of the Connecticut Fair

Employment Practices Act, Conn.Gen.Stat. §46a-60, et seq.

Count Two: Retaliation for Opposing a Discriminatory Employment Practice (CFEPA)

       1.       The plaintiff restates, re-alleges, and incorporates by reference paragraphs 1

through 96, above.

       97.      Due to animus based on the plaintiff’s exercise of her rights by filing a complaint

with the Connecticut Commission on Human Rights and Opportunities and the Equal

Employment Opportunities Commission, the defendant treated the plaintiff less favorably than

other employees, including by denying her promotional opportunities, mocking her in the

presence of co-workers, removing responsibilities from her position, diminishing her position,

taking actions intended to humiliate the plaintiff, discouraging co-workers and external

partners from communicating with her, falsely leading others to believe that the plaintiff had

retired, and placing the plaintiff in positions that endangered her health, in violation of the anit-

retaliation provision of the Connecticut Fair Employment Practices Act, Conn.Gen.Stat. §46a-

60, et seq.

Count Three: Discrimination or Retaliation for Exercise of Rights (FMLA)

       1.       The plaintiff restates, re-alleges, and incorporates by reference paragraphs 1

through 96, above.

       97.      Due to animus based on the plaintiff’s exercise of her rights under the federal

Family and Medical Leave Act, the defendant treated the plaintiff less favorably than other

employees, including by denying her promotional opportunities, mocking her in the presence

of co-workers, removing responsibilities from her position, diminishing her position, taking

actions intended to humiliate the plaintiff, discouraging co-workers and external partners from

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communicating with her, falsely leading others to believe that the plaintiff had retired, and

placing the plaintiff in positions that endangered her health, in violation of the anti-

discrimination and/or anti-retaliation provisions of the FMLA.

       98.      The defendant’s unlawful acts were taken with reckless disregard for the

plaintiff’s rights under the federal Family and Medical Leave Act.

Count Four: Denial of a Reasonable Accommodation (Rehabilitation Act of 1973)

       1.       The plaintiff restates, re-alleges, and incorporates by reference paragraphs 1

through 96, above.

       97.      The defendant’s failure to grant the plaintiff’s request for a reasonable

accommodation to work from home was in violation of the plaintiff’s rights under the

Rehabilitation Act of 1973.

       98.      The defendant’s failure to grant the plaintiff’s request for a reasonable

accommodation to re-locate the Covid-19 testing site was in violation of the plaintiff’s rights

under the Rehabilitation Act of 1973.

Count Five: Disability Based Discrimination in Employment (Rehabilitation Act of 1973)

       1.       The plaintiff restates, re-alleges, and incorporates by reference paragraphs 1

through 96, above.

       97.      Due to animus based on the plaintiff’s disabilities, the defendant treated the

plaintiff less favorably than other employees, including by denying her promotional

opportunities, mocking her in the presence of co-workers, removing responsibilities from her

position, diminishing her position, taking actions intended to humiliate the plaintiff,

discouraging co-workers and external partners from communicating with her, falsely leading



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others to believe that the plaintiff had retired, and placing the plaintiff in positions that

endangered her health, in violation of the Rehabilitation Act of 1973.




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                                     PETITION FOR RELIEF

       WHEREFORE, plaintiff respectfully requests that the Court order the following relief:

1.     Make the plaintiff whole, including by placing plaintiff in a position in defendant’s

employ which she would have held but for defendant’s wrongful discrimination and/or

retaliation, including by forcing the plaintiff’s premature retirement;

2.     Award plaintiff her economic losses, including lost wages and benefits of employment;

3.     Award plaintiff compensatory damages, including but not limited to damages for her

pain, suffering, and emotional distress caused by the defendant’s wrongful conduct;

4.     Award the plaintiff double or liquidated damages, as provided by the Family and

Medical Leave Act (FMLA);

5.     Award the plaintiff her reasonable attorney’s fees and costs; and

6.     Such other relief as the Court deems appropriate.




                                                   RESPECTFULLY SUBMITTED
                                                   ON BEHALF OF THE PLAINTIFF,
                                                   LINDA GUZZO,
                                                   BY: / s / Peter Goselin
                                                   The Law Office of Peter Goselin
                                                   P.O. Box 331313
                                                   Hartford, CT 06133
                                                   (860) 580-9675
                                                   Juris No. 411639




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